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 1                                                                The Honorable Richard A. Jones
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
 9
10 UNITED STATES OF AMERICA,                                No. CR18-315 RAJ
11                          Plaintiff,
                                                            GOVERNMENT’S AMENDED RULE 48(a)
12                     v.                                   MOTION FOR LEAVE TO DISMISS
13 GIZACHEW WONDIE,
14                          Defendant.
15
16         The United States of America, by and through Tessa M. Gorman, Acting United
17 States Attorney for the Western District of Washington, and Assistant United States
18 Attorneys Erin H. Becker and James D. Oesterle, submits this Motion for Leave to
19 Dismiss the pending Indictment in this case pursuant to Federal Rule of Criminal
20 Procedure 48(a).
21         Federal Rule of Criminal Procedure 48(a) states that the government "may by
22 leave of court file a dismissal of an indictment . . .and the prosecution shall thereupon
23 terminate." Given the Court's prior rulings, the government believes that the interests of
24 justice would be best served by dismissing the pending Indictment with prejudice, as the
25 government now believes it will be unable to prove Defendants' guilt beyond a
26 reasonable doubt. The government has a duty to dismiss when it finds the evidence is
27 insufficient to support a conviction. See, e.g., United States v. Dennis, 645 F.2d 517, 521
28 (5th Cir. 1981).
     Government’s Amended Motion for Leave to Dismiss - 1                       UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     United States v. Wondie / CR18-315 RAJ
                                                                                 SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
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1          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of
2 the Court, the Acting United States Attorney for the Western District of Washington
3 seeks dismissal of the pending Indictment against GIZACHEW WONDIE, with
4 prejudice.
5          DATED this 13th day of August, 2021.
6                                                           Respectfully submitted:
7
                                                            TESSA M. GORMAN
8                                                           Acting United States Attorney
9
                                                            /s/ James D.Oesterle
10                                                          ERIN H. BECKER
                                                            JAMES D. OESTERLE
11
                                                            Assistant United States Attorneys
12                                                          United States Attorney’s Office
                                                            700 Stewart Street, Suite 5220
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                                                            Seattle, Washington 98101-1271
14                                                          Phone: (206) 553-5040
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     Government’s Amended Motion for Leave to Dismiss - 2                          UNITED STATES ATTORNEY
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     United States v. Wondie / CR18-315 RAJ
                                                                                    SEATTLE, WASHINGTON 98101
                                                                                          (206) 553-7970
